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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
                      Criminal No. 21-174 (NEB/DTS)

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )
                                                   JOINT PROPOSED
                                          )
                                                   VERDICT FORM
                                          )
                                          )
WILLIAM HOWARD PROTO, JR.,                )
                                          )
                  Defendant.              )

     Count One- Possession with Intent to Distribute Methamphetamine
                        (on or about June 29, 2021)

      1.    With respect to Count One of the Indictment, we, the jury,

unanimously find the defendant, WILLIAM HOWARD PROTO, JR.:

                  _____ Not Guilty

                  _____ Guilty

of the crime of possession with intent to distribute methamphetamine, as

charged in Count One of the Indictment.

If you find the defendant “guilty,” you must answer the following question:

      2.    What amount of a mixture or substance containing a detectable

amount of methamphetamine do you find, unanimously and beyond a

reasonable doubt, that the defendant possessed with the intent to distribute?
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Check the largest drug quantity which the jury unanimously agrees
was involved in the offense. If the jury is unable to agree, check
“Less than 50 grams, but more than zero grams.” Check only one:

           _____500 grams or more of a mixture or substance containing
           methamphetamine;

           ____ at least 50 grams, but less than 500 grams, of a mixture or
           substance containing methamphetamine; or

           ____ less than 50 grams, but more than zero grams, of a mixture
           or substance containing methamphetamine.


                Count Two - Felon in Possession of a Firearm
                        (on or about June 29, 2021)

     1. With respect to Count Two of the Indictment, we, the jury, find the
        defendant,

WILLIAM HOWARD PROTO, JR.:

                 _____ Not Guilty

                 _____ Guilty

of the crime of being a felon in possession of a firearm, as charged in Count

Two of the Indictment.




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   Count Three - Possession with Intent to Distribute Methamphetamine
                      (on or about August 19, 2021)

      1.    With respect to Count Three of the Indictment, we, the jury,

unanimously find the defendant, WILLIAM HOWARD PROTO, JR.:

                  _____ Not Guilty

                  _____ Guilty

of the crime of possession with intent to distribute methamphetamine, as

charged in Count Three of the Indictment.


If you find the defendant “guilty,” you must answer the following question:


      2.    What amount of a mixture or substance containing a detectable

amount of methamphetamine do you find, unanimously and beyond a

reasonable doubt, that the defendant possessed with the intent to distribute?

Check the largest drug quantity which the jury unanimously agrees
was involved in the offense. If the jury is unable to agree, check
“Less than 50 grams, but more than zero grams.” Check only one:

            _____500 grams or more of a mixture or substance containing
            methamphetamine;

            ____ at least 50 grams, but less than 500 grams, of a mixture or
            substance containing methamphetamine; or

            ____ less than 50 grams, but more than zero grams, of a mixture
            or substance containing methamphetamine.




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                Count Four - Felon in Possession of a Firearm
                       (on or about August 19, 2021)

      1. With respect to Count Four of the Indictment, we, the jury, find the
         defendant,

WILLIAM HOWARD PROTO, JR.:

                  _____ Not Guilty

                  _____ Guilty

of the crime of being a felon in possession of a firearm, as charged in Count

Four of the Indictment.


  Count Five – Possession of a Firearm in Furtherance of Drug Trafficking
                                   Crime
                       (on or about August 19, 2021)

      1. With respect to Count Five of the Indictment, we, the jury, find the
         defendant,

WILLIAM HOWARD PROTO, JR.:

                  _____ Not Guilty

                  _____ Guilty

of the crime of possessing a firearm in furtherance of a drug trafficking crime,

as charged in Count Five of the Indictment.




                                      ______________
FOREPERSON                            DATE


                                       4
